18-13368-mg     Doc 26     Filed 02/11/19     Entered 02/11/19 10:09:33        Main Document
                                             Pg 1 of 2


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------x
In re

MUNDO CLEANING SERVICES INC.,                                 Case No. 18-13368 (mg)

                     Debtor.                                  Chapter 11
-------------------------------x

                                DECLARATION OF SERVICE

       I, Cynthia Narea, being duly sworn state as follows:

       1. I am over 18 years of age and not a party to this case.

       2. On February 11, 2019, I served a copy of the following document(s) to the individuals
and entities list on the annexed service list by either first class mail or electronic mail:

    ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM AND
        APPROVING THE FORM AND MANNER OF NOTICE THEREOF

       I hereby certify that the foregoing statements made by me are true to the best of my
knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false,
I am subject to punishment.


Dated: February 11, 2019
       Astoria, New York
                                                               /s/Cynthia Narea
                                                               Cynthia Narea
    18-13368-mg         Doc 26   Filed 02/11/19    Entered 02/11/19 10:09:33     Main Document
                                                  Pg 2 of 2


                                   MUNDO CLEANING SERVICES, INC.
                                             Service List


                                             Method       Creditor                               Method
                                             of Service                                          of
                                                                                                 Service

EVEREST BUSINESS FUNDING                     MAIL         NYC DEPARTMENT OF FINANCE              MAIL
8200 NW 52 TERRACE                                        BANKRUPTCY UNIT
2ND FLOOR                                                 59 MAIDEN LANE STREET
DORAL, FL 33166                                           NEW YORK, NY 10038
U.S. Trustee’s Office                        MAIL         N.Y.S..Dept of Tax. & Finance          MAIL
201 Varick Street                                         Bankruptcy Section
New York, NY 10014                                        PO Box 5300
                                                          Albany NY 12205-0300
Enid Nagler Stuart                           MAIL         Pryor & Mandelup, L.L.P.               MAIL
Assistant Attorney General                                675 Old Country Road
Special Bankruptcy Counsel                                Westbury, New York 11590
Office of the New York State Attorney
General
28 Liberty Street, 17th Floor
New York, NY I 0005
I.R.S.                                       MAIL
Centralized Insolvency Operation
Post Office Box 7346
Philadelphia, PA 19101-7346
